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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                              )
                                                      )
       v.                                             )      Crim. No. 1:19-cr-148
                                                      )
                                                      )
PRAKAZREL MICHEL,                                     )
LOW TAEK JHO                                          )

                  NOTICE REGARDING GOVERNMENT WITNESS LIST

       On October 9, 2022, the government filed its initial witness list. ECF No. 175. At number

seven on the list, the government identified a witness as an “Additional City National Bank

Witness.” The government notifies the Court and the defendant that the additional witness is

Leticia Santos.

                                                   Respectfully submitted,

                                                   COREY R. AMUNDSON
                                                   Chief, Public Integrity Section
                                                   Criminal Division
                                                   U.S. Department of Justice

                                                   By: /s/ John D. Keller
                                                      John D. Keller
                                                      Principal Deputy Chief
                                                      Sean F. Mulryne
                                                      Director of Enforcement & Litigation
                                                      Election Crimes Branch
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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this date, I electronically filed the foregoing pleading with

the Clerk of the Court using the CM/ECF system, which will serve counsel for the Defendant via

electronic notification.



Dated: March 24, 2023                                    /s/ John D. Keller
                                                         John D. Keller




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